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                                          15 YUGA LABS, INC.
                                          16                              UNITED STATES DISTRICT COURT
                                          17                            CENTRAL DISTRICT OF CALIFORNIA
                                          18                               WESTERN DIVISION – Los Angeles
                                          19
                                          20 YUGA LABS, INC.,                                 Case No.: 2:22-cv-04355-JFW-JEM
                                          21                       Plaintiff and              PLAINTIFF YUGA LABS, INC.’S
                                                                   Counterclaim Defendant,    SPECIAL MOTION TO STRIKE
                                          22                                                  COUNTERCLAIMS; PLAINTIFF
                                                       v.                                     YUGA LABS, INC.’S MOTION TO
                                          23                                                  DISMISS COUNTERCLAIMS
                                               RYDER RIPPS, JEREMY CAHEN,
                                          24                                                  Date:        February 13, 2023
                                                                   Defendants and             Time:        1:30 p.m.
                                          25                       Counterclaim Plaintiffs.   Courtroom:   7A
                                                                                              Judge:       Honorable John F. Walter
                                          26
                                          27
                                          28

                                               YUGA LABS’ SPECIAL MTN TO STRIKE                            Case No. 2:22-cv-04355-JFW-JEM
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                                           1                           NOTICE OF MOTIONS AND MOTIONS
                                           2           PLEASE TAKE NOTICE that on February 13, 2023, at 1:30 p.m., or as soon
                                           3 thereafter as this matter may be heard, in Courtroom 7A of this Court, located at
                                           4 350 W. 1st Street, Los Angeles, California 90012, Plaintiff and Counterclaim
                                           5 Defendant Yuga Labs, Inc. (“Yuga Labs”) will and hereby does move this Court,
                                           6 pursuant to California Code of Civil Procedure § 425.16 (the “anti-SLAPP statute”),
                                           7 for an order striking the state-law Counterclaims (Counts 4, 5, and 6) filed by
                                           8 Defendants and Counterclaim Plaintiffs Ryder Ripps and Jeremy Cahen
                                           9 (“Defendants”). In the alternative, to the extent necessary, Yuga Labs will and does
                                          10 move this Court, pursuant to Federal Rules of Civil Procedure 12(b)(1) and (6), for
                                          11 an order dismissing those same Counterclaims.
                                          12           Also, Yuga Labs will and does move this Court, pursuant to Federal Rules of
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                                          13 Civil Procedure 12(b)(1) and (6), for an order dismissing the federal-law
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                                          14 Counterclaims (Counts 1, 2, and 3).
                                          15           These Motions are supported by this Notice; the memorandum of points and
                                          16 authorities filed herewith; the Declaration of Eric Ball; Yuga Labs’ concurrently filed
                                          17 request for judicial notice; any other matters of which this Court may take judicial
                                          18 notice; all pleadings, files, and records in this action; and such other argument as this
                                          19 Court may receive at the hearing on this motion.
                                          20
                                          21 Dated: January 16, 2023                         FENWICK & WEST LLP
                                          22
                                          23
                                                                                             By: /s/ Eric Ball
                                          24                                                    Eric Ball
                                          25                                                 Attorneys for Plaintiff
                                                                                             YUGA LABS, INC.
                                          26
                                          27
                                          28

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                                           2 I.        INTRODUCTION
                                           3           After months of ripping off Yuga Labs’ trademarks and gleefully promoting

                                           4 this litigation on social media to sell more counterfeit NFTs, Ryder Ripps and Jeremy
                                           5 Cahen have pulled their latest publicity stunt: filing bogus counterclaims seeking to
                                           6 litigate defenses to hypothetical claims that Yuga Labs has not brought (Counts 2, 3,
                                           7 and 6) and to rewrite history by painting themselves as victims allegedly suffering
                                           8 “severe emotional distress” because Yuga Labs defended its trademarks in court and
                                           9 itself against Defendants’ relentless attacks (Counts 1, 4, and 5). But this spectacle is
                                          10 woefully defective and must end.
                                          11      As detailed below, Defendants’ Counts 4, 5, and 6 complain of conduct that

                                          12 falls squarely within California’s anti-SLAPP statute and for which they cannot show
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                                          13 a “probability of success” (or any chance of success); therefore, the Court should
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                                          14 strike them. Defendants’ claims for “emotional distress” (Counts 4 and 5) fail
                                          15 because they are based on alleged conduct that comes nowhere near the “extreme and
                                          16 outrageous” standard required to sustain such claims and because Defendants’ own
                                          17 allegations and public statements establish that they have not suffered any injury as
                                          18 a result of Yuga Labs defending itself—let alone the “extreme emotional distress”
                                          19 required to sustain such claims. The Court should reject Defendants’ nonsensical
                                          20 request for a declaratory judgment for a defense to a defamation claim that the Court
                                          21 recently acknowledged has not been brought (Count 6), because it presents no “case
                                          22 or controversy” to invoke this Court’s subject matter jurisdiction, and even if it did,
                                          23 is contrary to the purposes of the Declaratory Judgment Act.
                                          24           Similarly, Defendants’ federal claims (Counts 1, 2, and 3) fail because the Court

                                          25 lacks subject matter jurisdiction over them—Defendants have not been harmed by any
                                          26 copyright takedown, and there is no case or controversy as to hypothetical copyright
                                          27 infringement. Defendants also fail to plead a viable Section 512(f) claim or that Yuga
                                          28

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                                           1 Labs has registered any copyright (it has not registered a copyright) such that it could
                                           2 bring a copyright infringement suit against Defendants.
                                           3           As this Court recognized, this is a trademark case that will determine whether
                                           4 Ryder Ripps and Jeremy Cahen infringed Yuga Labs’ trademarks for their own
                                           5 financial gain. Having failed to dramatically expand the scope of this case with their
                                                            1


                                           6 now-denied motion to dismiss, Defendants now seek to achieve the same ends with
                                           7 bogus counterclaims. The Court should again decline that chicane invitation and
                                           8 dismiss Defendants’ counterclaims so that this case can move forward judiciously.
                                           9 II.       ARGUMENT
                                          10           A.      Defendants’ “Emotional Distress” Claims Under Counts 4 and 5
                                          11                   Fail Under California’s Anti-SLAPP Statute and Rule 12(b)(6).
                                          12           The California anti-SLAPP statute establishes “a two-step process for
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                                          13 determining whether an action is a SLAPP. First, the court decides whether the
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                                          14 defendant has made a threshold showing that the challenged cause of action is one
                                          15 arising from protected activity. A defendant meets this burden by demonstrating that
                                          16 the act underlying the plaintiff’s cause fits one of the categories spelled out in section
                                          17 425.16, subdivision (e). [Second, i]f the court finds that such a showing has been
                                          18 made, it must then determine whether the plaintiff has demonstrated a probability of
                                          19 prevailing on the claim.” Navellier v. Sletten, 29 Cal. 4th 82, 88 (2002) (cleaned up).
                                          20           Yuga Labs satisfies the first prong because Ripps’ and Cahen’s counterclaims
                                          21 are squarely based on protected activity—Yuga Labs’ filing of this lawsuit and
                                          22 making public statements about it. In terms of the second step, the counterclaims for
                                          23 “emotional distress” fail for three primary reasons. First, the conduct Defendants
                                          24 allege simply is not “extreme and outrageous” as a matter of law. Second, Defendants
                                          25 have failed to plead that they experienced emotional distress of the degree required to
                                          26 establish a tort.         Third, their own public statements prove that they were not
                                          27
                                               ECF 62 at 11 (“Plaintiff’s claims are limited to and arise out of Defendants’
                                               1

                                          28 unauthorized use of the BAYC Marks for commercial purposes.”).

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                                           1 emotionally distressed by Yuga Labs fighting back, but rather viewed it as a business
                                           2 opportunity and a subject of fun; they have created silly memes, laughed to their
                                           3 Twitter followers, and continuously used the supposedly emotionally damaging
                                           4 conduct to sell counterfeit NFTs. They aren’t wracked with emotional distress; they
                                           5 are laughing and scamming all the way to the bank.
                                           6                   1.      California’s Anti-SLAPP Statute applies to Defendants’
                                           7                           “emotional distress” claims.
                                           8           Defendants’ claims for “emotional distress” fall within California’s anti-
                                           9 SLAPP statute because they are based on Yuga Labs filing this lawsuit, submitting
                                          10 takedown notices to protect its brand, giving a public interview, engaging with media
                                          11 around the lawsuit, and tweeting about the Defendants. ECF 65 (“Countercl.”) ¶¶ 70,
                                          12 61, 63-67.         All of this conduct falls squarely within the anti-SLAPP statute’s
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                                          13 protection for litigation-related activities, speech made “in a public forum in
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                                          14 connection with an issue of public interest” and “any other conduct . . . in connection
                                          15 with a public issue or an issue of public interest.” Cal. Civ. Proc. Code § 425.16(b),
                                          16 (e); Dove Audio, Inc. v. Rosenfeld, Meyer & Susman, 47 Cal. App. 4th 777, 784 (1996)
                                          17 (“[t]he constitutional right to petition includes the basic act of filing litigation[.]”)
                                          18 (cleaned up); Briggs v. Enden Council for Hope & Opportunity, 969 P.2d 564, 569
                                          19 (1999) (“communications preparatory to or in anticipation of the bringing of an action
                                          20 or other official proceeding are entitled to the benefits of section 425.16.”) (cleaned
                                          21 up). Defendants have repeatedly claimed their dispute with Yuga Labs is a matter of
                                          22 public concern. See, e.g., ECF 38 at 12-13 (arguing that the dispute falls within all
                                          23 three definitions of public issue).
                                          24           That Defendants threw in a handful of other communications relating to their
                                          25 public dispute with Yuga Labs does not render the California anti-SLAPP statute
                                          26 inapplicable. Ripps and Cahen “cannot frustrate the purposes of the SLAPP statute
                                          27 through a pleading tactic of combining the allegations of protected and nonprotected
                                          28 activity under the label of one ‘cause of action.’” Sparrow LLC v. Lora, No. CV-14-

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                                           1 1188, 2014 WL 12573525, at *3 (C.D. Cal. Dec. 4, 2014) (quoting Wang v. Wal-Mart
                                           2 Real Estate Bus. Trust, 153 Cal. App. 4th 790, 801-02 (2007)).
                                           3           Yuga Labs carries its burden under the first prong of the anti-SLAPP statute
                                           4 because the alleged other communications are “incidental or collateral to a cause of
                                           5 action based essentially on protected activity” and Yuga Labs’ litigation activity and
                                           6 its public statements about this lawsuit, which Defendants concede is a topic of public
                                           7 concern, are the “principal thrust or gravamen” of Defendants’ emotional distress
                                           8 claims. Wang, 153 Cal. App. 4th at 802.
                                           9                   2.      Defendants fail to allege extreme and outrageous conduct.
                                          10           Under the anti-SLAPP’s second step, the counterclaims must be stricken and
                                          11 attorneys’ fees awarded unless Defendants can “demonstrate[] a probability of
                                          12 prevailing on the claim[s].” Navellier, 29 Cal. 4th at 88; Cal. Civ. Code § 425.16.
                                                                                                                                 2
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                                          13 But Defendants’ own pleading establishes that they cannot demonstrate a
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                                          14 “probability” that they will prevail under California’s anti-SLAPP statute; in fact, they
                                          15 cannot even demonstrate a plausible right to relief under Rule 12(b)(6). Thus, these
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                                          16 claims fail as a matter of law.
                                                                             4


                                          17           “An essential element of a cause of action for intentional infliction of emotional
                                          18 distress is extreme and outrageous conduct by the defendant.” Yurick v. Super. Ct.,
                                          19 209 Cal. App. 3d 1116, 1123 (1989) (cleaned up). The alleged conduct “must be so
                                          20 extreme as to exceed all bounds of that usually tolerated in a civilized community.”
                                          21 Id. (citation omitted). The conduct must be “atrocious, and utterly intolerable.”
                                          22 Cochran v. Cochran, 65 Cal. App. 4th 488, 496 (1998). Courts have explained this
                                          23 does not include “mere insults, indignities, threats, annoyances, petty oppressions, or
                                          24   2
                                                 The award of fees is mandatory. Id.
                                          25   3
                                                 If the Court does not agree that the anti-SLAPP statute applies, it should dismiss
                                          26   these counterclaims under 12(b)(6) for the same reasons as explained in the following
                                               sections.
                                          27   4
                                                 Also, with respect to only the NIED claim, Ripps and Cahen fail to plead a special
                                          28   relationship or other duty required to sustain the count.

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                                           1 other trivialities.” Id. (cleaned up). It would not be enough even if Defendants alleged
                                           2 that Yuga Labs acted “with an intent which is tortious or even criminal, . . . intended
                                           3 to inflict emotional distress, or even that [its] conduct has been characterized by
                                           4 ‘malice,’ or a degree of aggravation which would entitle [Defendants’] to punitive
                                           5 damages for another tort.” Id. (quoting Restatement (Second) of Torts, § 46, cmt. d
                                           6 (Am. L. Inst. 1965)).
                                           7           Here, even accepting all of Defendants’ allegations as true, the alleged conduct
                                           8 amounts to garden-variety litigation-related activities, public relations activities, and
                                           9 a handful of other communications incidental to this public dispute between the
                                          10 parties. While Defendants claim that even the filing of this lawsuit is an actionable
                                          11 IIED (Countercl. ¶ 70), Yuga Labs’ pursuit of this lawsuit is absolutely privileged
                                          12 under California’s statutory litigation privilege. Cal. Civ. Code § 47. And none of
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                                          13 the other alleged conduct even comes close to being “extreme and outrageous” enough
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                                          14 to sustain a claim for emotional distress. In fact, courts have repeatedly dismissed
                                          15 emotional distress claims alleging conduct that is far more extreme and outrageous
                                          16 than the conduct Defendants allege here. For example, an irate telephone message left
                                          17 by plaintiff’s former romantic partner, which plaintiff interpreted as a death threat,
                                          18 was not enough to support a claim for emotional distress. Cochran, 65 Cal. App. 4th
                                          19 at 494-95. Nor were sexually aggressive comments by a trustee who controlled
                                          20 plaintiff’s child’s trust, including “I’ll get you on your knees eventually. I’m going to
                                          21 fuck you one way or another.” Hughes v. Pair, 46 Cal. 4th 1035, 1049 (2009). Even
                                          22 false statements made with reckless disregard to a plaintiff’s rights and feelings are
                                          23 not per se extreme and outrageous. Duste v. Chevron Prod. Co., 738 F. Supp. 2d 1027
                                          24 (N.D. Cal. 2010) (holding that false statements about plaintiff frequenting gentlemen’s
                                          25 clubs and brothels made with the specific intent to cause him emotional distress and
                                          26 reckless disregard for the truth were not extreme and outrageous).
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                                          27
                                              See also Weinberg v. Valeant Pharms. Int’l, No. 15-CV-01260, 2017 WL 6543822,
                                               5

                                          28 at *14 (C.D. Cal. Aug. 10, 2017), aff’d sub nom. Weinberg v. Valeant Pharms. N. Am.,

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                                           1           Further, many courts have held that negative and threatening comments are
                                           2 non-actionable because they can reasonably be expected and are not uncommon
                                           3 between parties involved in protracted litigation or who are otherwise feuding. See,
                                           4 e.g., Hughes, 46 Cal. 4th at 1051; Cochran, 65 Cal. App. 4th at 498. This is true here;
                                           5 Ripps and Cahen cannot complain that they are “distressed” that Yuga Labs is fighting
                                           6 back after they stole Yuga Labs’ trademarks and repeatedly accused its founders of
                                           7 being Nazis (amongst other vile attacks) for more than a year.
                                           8           Similarly, stating or posting a negative comment about an adversary “could
                                           9 hardly be considered atrocious and intolerable conduct that goes beyond the bounds
                                          10 of decency.” Wong v. Jing, 189 Cal. App. 4th 1354, 1379 n.7 (2010). Defendants
                                          11 have at best alleged to have been insulted when Yuga Labs, in defense of itself, called
                                          12 Defendants’ claims a “conspiracy theory.”           Countercl. ¶ 65.    But calling out
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                                          13 someone’s false claims as false does not rise to extreme and outrageous conduct to
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                                          14 sustain a claim for emotional distress, especially where they are a legal adversary.
                                          15 Yurick, 209 Cal. App. 3d at 1129.
                                          16           Moreover, Defendants’ claims in Countercl. ¶¶ 59-60, 69 do not, and cannot as
                                          17 a matter of law, constitute “extreme and outrageous” conduct as the alleged statements
                                          18 were made to third parties. “It is not enough that the conduct be intentional and
                                          19 outrageous. It must be conduct directed at the plaintiff, or occur in the presence of a
                                          20 plaintiff of whom the defendant is aware.” Christensen v. Superior Court, 54 Cal. 3d
                                          21 868, 903 (1991). Even if a statement to a third party could support someone else’s
                                          22 claim for emotional distress (it cannot), Defendants do not even allege that the alleged
                                          23 call to Cahen’s sister was threatening in any way, and therefore it cannot be extreme
                                          24 or outrageous. Countercl. ¶60. And even if a phone call to Ripps’ father was made
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                                             LLC, 765 F. App’x 328 (9th Cir. 2019) (holding that comments about engaging in
                                          26 blood sport were not outrageous); Plater v. United States, 359 F. Supp. 3d 930, 942
                                             (C.D. Cal. 2018) (holding that TSA agents demanding plaintiff, a stroke victim who
                                          27
                                             was partially paralyzed and unable to speak, either say or write her name for over one
                                          28 hour and forty-five minutes was merely “insensitive” and not actionable).

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                                           1 as alleged (which Yuga Labs hotly disputes), a single telephone call containing a
                                           2 vague and non-imminent threat is not, as a matter of law, extreme or outrageous
                                           3 conduct. See Cochran at 494-95; Hughes at 1051; Schneider v. TRW, 938 F.2d 986,
                                           4 992-93 (9th Cir. 1991).
                                           5           While the anti-SLAPP statute permits the Court to consider evidence outside
                                           6 the pleadings, Cal. Civ. Proc. Code § 425.16(b)(2), Defendants’ emotional distress
                                           7 claims should be stricken on the pleadings alone because the alleged conduct is not
                                           8 extreme or outrageous as a matter of law.
                                           9                   3.      Defendants fail to sufficiently allege—and have not
                                          10                           suffered—emotional distress.
                                          11           Defendants’ emotional distress claims also fail because their conclusory
                                          12 allegations of “severe emotional distress” are insufficient as a matter of law. Severe
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                                          13 emotional distress needs to be “of such substantial quality or enduring quality that no
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                                          14 reasonable [person] in civilized society should be expected to endure it.” Hughes, 46
                                          15 Cal. 4th at 1051 (quoting Potter v. Firestone Tire & Rubber Co., 6 Cal. 4th 965,
                                          16 1004)). Defendants conclusorily allege that they “suffered severe emotional distress
                                          17 because of Yuga’s intimidation campaign,” that their careers have been impacted
                                          18 “which created significant stress for them,” and that they are “deeply fearful, anxious,
                                          19 and restless” and have “experience[d] severe stress and profound fear.” Countercl.
                                          20 ¶ 89.
                                          21           Even if these allegations were true (and as set forth below, they are not plausibly
                                          22 true), at most, they are vague, “garden variety” distress, which is insufficient to plead
                                          23 a claim for emotional distress. See Hughes at 1051; Connell v. United States, No. 08-
                                          24 CV-0062, 2010 WL 958269, at *5 (E.D. Cal. Mar. 12, 2010) (collecting cases); Allied
                                          25 Trend Int'l, Ltd. v. Parcel Pending, Inc., No. 19-cv-00078, 2019 WL 4137605, at *4
                                          26 (C.D. Cal. June 3, 2019) (rejecting allegations as too “vague and diffuse” where
                                          27 plaintiff alleged “conduct ‘injured her in health, strength, and activity, sustaining
                                          28 substantial shock and injury to her nervous system and person’ and ‘great mental

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                                           1 distress, pain and suffering.’”). “Assertions that [a plaintiff] has suffered discomfort,
                                           2 worry, anxiety, upset stomach, concern, and agitation as the result of a defendant’s
                                           3 conduct do not” rise to the level of extreme emotional distress. Hughes at 1051
                                           4 (cleaned up).          Since Defendants’ allegations of severe emotional distress are
                                                           6


                                           5 insufficient as a matter of law, the Court should strike (or in the alternative, dismiss)
                                           6 their claims for emotional distress on the pleadings alone.
                                           7           To the extent the Court believes more information is necessary to determine if
                                           8 Defendants actually suffered severe emotional distress, then it should consider
                                           9 Defendants’ own public statements and actions to the contrary, which Yuga Labs
                                          10 respectfully submits as evidence in support of its anti-SLAPP motion to strike and of
                                          11 which the Court may take judicial notice. Far from suffering the alleged “extreme
                                          12 emotional distress” as a result of Yuga Labs’ response to his attacks, Ripps’ own
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                                          13 tweets reveal that this is what he planned all along. In December 2021, Ripps tweeted
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                                          14 that he was going to intentionally copy the BAYC NFTs to “get a DMCA, challenge
                                          15 it, then i would like to get sued” (emphasis added) to challenge Yuga Labs’
                                          16 ownership of the work:
                                                                    7


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                                          18   6
                                                 See also Bolton v. Pentagroup Fin. Servs., LLC, No. CIV-F-08–0218, 2009 WL
                                          19   734038, at *24–25 (E.D. Cal. Mar.17, 2009) (holding that plaintiff who did not contact
                                          20   a doctor or take any prescription drugs for alleged distress did not suffer severe and
                                               extreme emotional distress to establish IIED) (citing Girard v. Ball, 125 Cal. App. 3d
                                          21   772, 787–88 (1981) (sleeplessness, anxiety and nervousness for which plaintiff sought
                                          22   no medical treatment) & Costa v. Nat’l Action Fin. Servs., 634 F. Supp. 2d 1069, 1079
                                               (E.D. Cal. 2007) (stating plaintiff’s sleeplessness, shaky hands and anxiety for which
                                          23   plaintiff did not see a doctor or take medication insufficient to establish severe
                                          24   emotional distress)); Paulson v. State Farm Mut. Auto. Ins. Co., 867 F. Supp. 911, 919
                                               (C.D. Cal. 1994) (finding no severe emotional distress where plaintiff who claimed to
                                          25   suffer frustration, depression, nervousness and anxiety did not seek medical care);
                                          26   Simo v. Union of Needletrades Indus. & Textile Emp., 322 F.3d 602, 622 (9th Cir.
                                               2003) (claiming to be tense, nervous, and emotionally hurt does not satisfy this
                                          27   standard).
                                          28   7
                                                 Declaration of Eric Ball (“Ball Decl.”) Ex. 1.

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                                           9           Similarly, on November 10, 2022, Cahen tweeted that he is “perfectly ok[ay]”
                                          10 with being known for the attack campaign against Yuga Labs. 8                On Twitter,
                                          11 Defendants have called Yuga Labs’ litigation and related activities “hysterical,” 9 “too
                                          12 funny and stupid,” 10 and “so silly.” 11 They made memes mocking Yuga Labs’ legal
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                                          13 counsel, 12 declared they “are looking forward to [their] 7 hour video depositions,” 13
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                                          14 posted photos of themselves posing outside the deposition location, 14 and have
                                          15 threatened Yuga Labs’ founders. 15 Defendants’ own actions lack any indicia of
                                          16 emotional distress, much less severe emotional distress.
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                                               Ball Decl. ¶ 14, Ex. 12.
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                                                Id. ¶ 15, Ex. 13.
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                                                 Id. ¶ 16, Ex. 14.
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                                             11
                                                 Id. ¶ 17, Ex. 15.
                                             12
                                                 Id. ¶ 18, Ex. 16.
                                          26 13
                                                 Id. ¶ 19, Ex. 17
                                          27 14
                                                 Id. ¶ 13, Ex. 11.
                                          28 15
                                                 Id. ¶ 20, Ex. 18.

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                                          13           Defendants also allege that Yuga Labs’ employee Noah Davis called and texted
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                                          14 Rodney Ripps, the father of Ryder Ripps, and said that “You and your fucked up son
                                          15 are going to die” and “You guys are fucking pieces of shit.” Countercl. ¶ 69. But
                                          16 Defendants intentionally conceal the fact that Rodney Ripps and Davis had a
                                          17 longstanding personal relationship (predating Davis’ employment with Yuga Labs)
                                          18 that had turned ugly, and that the call was prompted by Rodney Ripps tweeting highly
                                          19 insulting statements about Davis’ late father and Davis himself. 16 Despite Defendants’
                                          20 claims of being emotionally distressed by this alleged occurrence, within five days,
                                          21 both Cahen and Rodney Ripps again publicly mocked Davis and the incident on
                                          22 Twitter. 17
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                                                    Ball Decl. ¶ 21, Ex. 19.
                                          28   17
                                                    Id. ¶ 22, Ex. 20.

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                                          16                   4.      Count 5 for “negligent infliction of emotional distress”
                                          17                           additionally fails because Yuga Labs owes Defendants no
                                          18                           special duty and Defendants have suffered no injury.
                                          19           In addition to all the fatal deficiencies set forth above, Defendants’ NIED claim
                                          20 fails because Defendants have not and cannot allege facts showing duty, breach of
                                          21 duty, causation, and damages. Burgess v. Super. Ct., 2 Cal. 4th 1064, 1072 (1992)
                                          22 (noting California recognizes NIED only as a type of negligence and not an
                                          23 independent tort).
                                          24           First, Defendants have not and cannot allege that Yuga Labs owes them a
                                          25 special duty. “Damages for emotional distress are recoverable only if the defendant
                                          26 has breached some [] duty to the plaintiff.” Potter, 6 Cal. 4th at 984. This duty may
                                          27 be imposed by law, assumed by the defendant, or exist by virtue of a special
                                          28 relationship between the parties. Id. at 984–85; Marlene v. Affiliated Psychiatric Med.

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                                           1 Clinic, Inc., 48 Cal. 3d 583, 590 (1989). Defendants certainly cannot claim that
                                                                                      18


                                           2 Yuga Labs assumed any duty to them, nor was there a special relationship between
                                           3 the parties. Defendants make a single conclusory allegation that Yuga Labs “had a
                                           4 duty to refrain from engaging in unlawful and harassing activities aimed at retaliating
                                           5 against Mr. Ripps and Mr. Cahen’s speech activity.” Countercl. ¶ 93. This is not a
                                           6 “special duty” to Defendants, but a general (and legally incognizable) duty “to avoid
                                           7 negligently causing emotional distress to another.” Potter at 984; see also Mandel v.
                                           8 Hafermann, 503 F. Supp. 3d 946, 984 (N.D. Cal. 2020) (“Absent allegations of
                                           9 threatened physical injury, allegations of defamation, theft, wrongful termination, and
                                          10 adversarial lawyering are not enough to make out the type of duty that California
                                          11 courts would find sufficient to state a claim for [NIED].” (cleaned up)). The lack of
                                          12 a duty is fatal to Defendants’ claim.
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                                          13           Second, even if Yuga Labs owed Defendants a duty (it does not), their claim
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                                          14 for NIED would still fail, both because their alleged emotional distress is not severe
                                          15 (see above) and because they do not allege any physical injury. Countercl. ¶ 95.
                                          16 “[W]ith rare exceptions, a breach of the duty must threaten physical injury, not simply
                                          17 damage to property or financial interests.” Potter at 985. The rare exceptions are
                                          18 “certain specialized classes of cases[, w]here the negligence is of a type which will
                                          19 cause highly unusual as well as predictable emotional distress.” Branch v. Homefed
                                          20 Bank, 6 Cal. App. 4th 793, 800 (1992). Here, Defendants fail to allege any current or
                                          21 threatened physical injury or any facts on which this Court could find an exception.
                                          22
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                                                  Cases where courts have allowed plaintiffs to pursue claims include a doctor
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                                               misdiagnosing a plaintiff’s wife with syphilis, see Molien v. Kaiser Found. Hosps., 27
                                          24   Cal. 3d 916, 930–31 (1980), a hired therapist sexually molesting a plaintiff's sons,
                                               Marlene, 48 Cal. 3d at 591, a school board failing to notify a plaintiff that her daughter
                                          25
                                               was sexually molested by a fellow student, Phyllis v. Super. Ct., 183 Cal. App. 3d
                                          26   1193, 1197–98 (1986), a crematorium mishandling the remains of plaintiffs’ close
                                               relative, Christensen, 54 Cal. 3d at 894–896), and a company’s unlawful disposal of
                                          27
                                               toxic waste which caused plaintiff to develop a fear of cancer after ingesting
                                          28   contaminated water, Potter, 6 Cal. 4th at 985.

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                                           1 Thus, there is no plausible argument for recovery. See Faulks v. Wells Fargo & Co.,
                                           2 No. 13-CV-02871, 2015 WL 4914986, at *7 (N.D. Cal. Aug. 17, 2015); Dushey v.
                                           3 Accu Bite, Inc., No. CIV. S-06-00834, 2006 WL 1582221, at *2 (E.D. Cal. June 2,
                                           4 2006) (“Absent some threatened physical injury . . . or a contractual duty to protect
                                           5 plaintiffs’ emotional tranquility, . . . plaintiffs cannot make out a claim for [NIED].”
                                           6 (cleaned up)); Eastman v. Allstate Ins. Co., No. 14-cv-0703, 2014 WL 5355036, at *9
                                           7 (S.D. Cal. Oct. 20, 2014) (“emotional distress damages are not ‘available in every case
                                           8 in which there is an independent cause of action founded upon negligence.’”
                                           9 (quoting Erlich v. Menezes, 21 Cal. 4th 543, 554 (1999)).
                                          10           B.      Count 6 Fails to Present a Justiciable Case or Controversy and It
                                          11                   Is Inconsistent with the Declaratory Judgment Act.
                                          12           Defendants’ nonsensical request that the Court declare they have not defamed
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                                          13 Yuga Labs should be stricken under California’s anti-SLAPP statute, or in the
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                                          14 alternative, dismissed under Rule 12(b)(1) for lack of subject-matter jurisdiction.
                                          15           Defendants’ own allegations establish that their reverse-defamation claim is
                                          16 subject to California’s anti-SLAPP statute: as they put it, the Court should declare
                                          17 they “did not engage in any defamatory conduct” and their “criticism of Yuga is true
                                          18 and accurate” in order to rebut public defenses by Yuga Labs and its founders that
                                          19 Defendants are spreading “conspiracy theor[ies]” about them. Countercl. ¶¶ 98–102.
                                          20 If granted, such relief would improperly usurp the role of the jury as the fact-finder in
                                          21 a defamation claim and would be misconstrued as factual findings against individuals
                                          22 who are not parties to this lawsuit. But the conduct of Yuga Labs’ founders—
                                          23 including appearing on a podcast and making other public statements to defend
                                          24 themselves in response to personal accusations that Defendants have made against
                                          25 them publicly—is protected activity under California’s anti-SLAPP statute. Cal. Civ.
                                          26 Proc. Code § 425.16(e). And where, as here, the underlying relief sought in a
                                          27 declaratory judgment claim implicates an issue of state law (e.g., defamation), federal
                                          28 courts apply the anti-SLAPP statute. See, e.g., Fintland v. Luxury Marine Grp., LLC,

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                                           1 No. CV 09-4267, 2010 WL 758543, at *6-7 (C.D. Cal. Mar. 1, 2010) (granting anti-
                                           2 SLAPP striking declaratory relief claim); Allstate Indemnity Co. v. Collins, No. C 10–
                                           3 2073, 2011 WL 941251 (N.D. Cal. 2011) (analyzing anti-SLAPP motion in pure
                                           4 declaratory relief action).
                                           5           Defendants seek an advisory opinion granting them immunity from a
                                           6 hypothetical defamation claim. See ECF 62 at 11 (“Plaintiff has not brought claims
                                           7 against Defendants for defamation, slander, or libel.”). But federal courts nationwide
                                           8 have held that a putative tortfeasor may not use the Declaratory Judgment Act to
                                           9 prospectively seek a declaration of non-liability. See, e.g., Cunningham Bros. Inc. v.
                                          10 Bail, 407 F.2d 1165, 1168 (7th Cir. 1969) (holding that a declaratory judgment action
                                          11 may not be used “to enable a prospective negligence action defendant to obtain a
                                          12 declaration of non-liability”); Friedman v. Geller, 925 F. Supp. 611, 613 (E.D. Wis.
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                                          13 1996) (rejecting request by attorney for declaratory judgment that he did not commit
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                                          14 malpractice); 10B Charles Alan Wright & Arthur R. Miller, Federal Practice and
                                          15 Procedure § 2751 (4th ed. 2022) (explaining the application of the rule nationwide).
                                          16 This rule has been repeatedly applied in the defamation context. See also, e.g., Dow
                                          17 Jones & Co. Inc. v. Harrods, Ltd., 237 F. Supp. 2d 394, 402-03 (S.D.N.Y 2002);
                                          18 Thermolife Int’l LLC v. Vital Pharm. Inc., No. 19-cv-61380, 2019 WL 4954622, at *3
                                          19 (S.D. Fla. Oct. 8, 2019); Carroll v. White, No. 16-cv-229, 2016 WL 7238914, at *5
                                          20 (M.D. Ala. Nov. 21, 2016).
                                          21           There are two primary justifications for these decisions. First, declarations of
                                          22 non-liability violate the “case or controversy” requirement of the Declaratory
                                          23 Judgment Act and Article III, and they are not ripe for adjudication, thereby depriving
                                          24 the court of subject-matter jurisdiction. Second, allowing a defendant to preemptively
                                          25 seek relief on a hypothetical defense to an unfiled tort claim is inconsistent with the
                                          26 purpose of the Declaratory Judgment Act, which is to limit disputes (rather than
                                          27 expand them) and is typically used by contract parties to adjudicate rights when a
                                          28 concrete dispute has arisen, but no breach has occurred yet. To expand its application

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                                           1 to tort suits would create a host of ills, including encouraging forum shopping and
                                           2 needlessly interjecting the federal courts into state-law claims. Both rationales fully
                                           3 (and justly) apply here. Defendants’ request for declaratory relief should therefore be
                                           4 dismissed for lack of subject-matter jurisdiction pursuant to Rule 12(b)(1) and
                                           5 pursuant to California’s anti-SLAPP statute.
                                           6                   1.      Count 6 fails to present a justiciable case or controversy.
                                           7           As the Supreme Court has explained, for there to be a case or controversy ripe
                                           8 for adjudication under Article III of the Constitution, “[t]he disagreement must not be
                                           9 nebulous or contingent but must have taken a fixed and final shape so that a court can
                                          10 see what legal issues it is deciding, what effect its decision will have on its adversaries,
                                          11 and some useful purpose to be achieved in deciding them.” Pub. Serv. Comm’n of
                                          12 Utah v. Wycoff Co., 344 U.S. 237, 244 (1952).                As many courts have held,
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                                          13 prospectively ruling on a defense to a hypothetical defamation suit would violate the
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                                          14 “case or controversy” requirement needed for a dispute to be justiciable, and thereby
                                          15 constitute an impermissible advisory opinion.
                                          16           For example, in Harrods, the Dow Jones company was sued in London for an
                                          17 allegedly defamatory article. Despite the existence of an actual lawsuit disputing a
                                          18 single article, the court held that declaratory relief of non-liability was “grounded on
                                          19 a string of apprehensions and conjectures about future possibilities” such as what
                                          20 portions of the article might be found defamatory, whether there would be a successful
                                          21 appeal, and whether the plaintiff might try to enforce a judgment. 237 F. Supp. 2d at
                                          22 408. Similarly, in ThermoLife, the court held that to issue a declaratory judgment that
                                          23 even a single, specific statement was not defamatory before suit was filed would be
                                          24 an “impermissible advisory opinion on a matter that is not ripe.” 2019 WL 4954622,
                                          25 at *5 (collecting cases). In Carroll v. White, the court rejected a journalist’s request
                                          26 for a declaration that he could not be sued for defamation in a potential future action
                                          27 threatened against him, “[b]ecause plaintiff essentially seeks a declaratory judgment
                                          28 that possible defenses or affirmative defenses would be meritorious if he is sued by

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                                           1 the defendants for defamation per se, or as a means to thwart such a lawsuit before its
                                           2 inception, [so] plaintiff seeks an impermissible advisory opinion on a matter that is
                                           3 not ripe.” Carroll, 2016 WL 7238914, at *5, report and recommendation adopted,
                                           4 2016 WL 7234090 (M.D. Ala. Dec. 14, 2016).
                                           5           The declaration Defendants seek from this Court is far more sweeping and
                                           6 problematic than the declarations requested in all of the foregoing cases. Each case
                                           7 involved a single allegedly defamatory article or statement, and either active
                                           8 defamation litigation or threats of imminent defamation litigation. These cases
                                           9 establish that it would be impermissible for the court to issue an advisory opinion even
                                          10 under these circumstances. But here, Defendants seek a declaration that none of their
                                          11 thousands of prior public statements about Yuga Labs or its founders are
                                          12 defamatory and that each of those statements were true.
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                                          13           While these vile statements are not true, Yuga Labs has not brought a
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                                          14 defamation claim, and therefore there is no actual “case or controversy” to adjudicate.
                                          15 Defendants’ amorphous, unbounded request cannot provide a basis for the requested
                                          16 declaration, and it fails to present a ripe case or controversy as required for the Court
                                          17 to have subject-matter jurisdiction. Accordingly, the Court should dismiss Count 6
                                          18 under Rule 12(b)(1). And, because the lack of subject-matter jurisdiction means that
                                          19 Defendants cannot “demonstrate[] a probability of prevailing on the claim” as required
                                          20 to survive Yuga Labs’ anti-SLAPP motion to strike, Defendants are liable for Yuga
                                          21 Labs’ attorneys’ fees. Navellier, 29 Cal. 4th at 88; Cal. Civ. Code § 425.16 (“a
                                          22 prevailing defendant on a special motion to strike shall be entitled to recover his or
                                          23 her attorney’s fees and costs”).
                                          24                   2.      Defendants’ request is inconsistent with the purposes of the
                                          25                           Declaratory Judgment Act.
                                          26           Even if the Court had subject-matter jurisdiction over Defendants’ request for
                                          27 a declaratory judgment (it does not), it should decline the request. The Declaratory
                                          28 Judgment Act is permissive and allows federal courts to reject requests for declaratory

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                                           1 judgments that are inconsistent with the purposes of the Act. See, e.g., Principal Life
                                           2 Ins. Co. v. Robinson, 394 F.3d 665, 672 (9th Cir. 2005). When deciding whether to
                                           3 exercise its jurisdiction, a district court is guided by the Brillhart factors, three of
                                           4 which the Ninth Circuit has described as especially important: “[1] the district court
                                           5 should avoid needless determination of state law issues; [2] it should discourage
                                           6 litigants from filing declaratory actions as a means of forum shopping and [3] it should
                                           7 avoid duplicative litigation.” Gov’t Emps. Ins. Co. v. Dizol, 133 F.3d 1220, 1225 (9th
                                           8 Cir. 1998). The Ninth Circuit has approved consideration of other factors including:
                                           9              whether the declaratory action will settle all aspects of the
                                          10              controversy; whether the declaratory action will serve a useful
                                                          purpose in clarifying the legal relations at issue; whether the
                                          11              declaratory action is being sought merely for the purposes of
                                          12              procedural fencing or to obtain a ‘res judicata’ advantage; or
                                                          whether the use of a declaratory action will result in entanglement
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                                          13
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                                                          between the federal and state court systems. In addition, the district
                                          14              court might also consider the convenience of the parties, and the
                                                          availability and relative convenience of other remedies.
                                          15
                                          16 Id. at 1225 n. 5. Here, the Brillhart factors outlined above weigh strongly in favor of
                                          17 declining jurisdiction.
                                          18           First, this is a trademark dispute, and expanding its scope to Defendants’
                                          19 reverse-defamation claim would involve only a “needless determination of state law
                                          20 issues,” i.e., substantive defamation law, for the thousands of statements Defendants
                                          21 have made. 19
                                          22           Second, the requested declaration will not “settle all aspects of the
                                          23 controversy”—in fact, it will settle no aspect of the controversy whatsoever—nor will
                                          24 it “serve a useful purpose in clarifying the legal relations at issue.” To put it plainly,
                                          25 Defendants’ supposed “project” of “social commentary” is irrelevant to this trademark
                                          26 case, as the Court has recently remarked.            ECF 62 at 6 (“Defendants’ sale of
                                          27
                                               It should be noted that the Court would have to determine which state law properly
                                               19

                                          28 applied to every statement Defendants have made about Yuga Labs.

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                                           1 [RR/BAYC NFTs] is the only conduct in this action[.]”). And as the Court already
                                           2 recognized, “Plaintiff has not brought claims against Defendants for defamation,
                                           3 slander, or libel.” Id. at 11.
                                           4           Third, Defendants have requested the declaratory judgment purely as a means
                                           5 of “procedural fencing” and to gain an unfair litigation advantage. Rather than facing
                                           6 accountability for their trademark infringement at the scheduled trial, Defendants
                                           7 transparently seek to delay trial by flooding Yuga Labs with burdensome, time-
                                           8 consuming, and expensive discovery that is wholly irrelevant to the trademark dispute
                                           9 at issue in this case. This is no idle fear: throughout discovery, Defendants have
                                          10 pursued vast document requests related to irrelevant “Inflammatory Material” even
                                                                                                                         20


                                          11 though no reputational issues were at stake.          Through their “no-defamation”
                                                                                          21


                                          12 counterclaim, Defendants attempt to legitimize a massive fishing expedition into
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                                          13 defenses to a claim that Yuga Labs has not brought.
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                                          14           C.      Count 1 (17 U.S.C. § 512(f)) Should Be Dismissed for Lack of
                                          15                   Article III Standing.
                                          16           Defendants’ federal counterclaims are similarly defective and should be
                                          17 dismissed.         Courts must dismiss claims over which they lack subject matter
                                          18 jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1). Once Yuga Labs challenges subject
                                          19 matter jurisdiction, as it has here, Ripps and Cahen bear the burden of proving the
                                          20 existence of subject matter jurisdiction. See Thompson v. McCombe, 99 F.3d 352, 353
                                          21 (9th Cir. 1996) (“A party invoking the federal court’s jurisdiction has the burden of
                                          22
                                                Defendants define “Inflammatory Material” as “any content that that [sic] is racist,
                                               20

                                          23 fascist, neo-Nazi, alt-right, hate speech, discriminatory, or otherwise
                                          24 racially/ethnically prejudicial, including but not limited to content that appears to be
                                             or can be understood to be racist, fascist, neo-Nazi, alt-right, hate speech,
                                          25 discriminatory, or otherwise racially/ethnically prejudicial.” See ECF 69-4 (Ex. 2 to
                                          26 Declaration of Derek Gosma).
                                             21
                                                Indeed, in recent meet-and-confers following the Court’s holding that Rogers does
                                          27
                                             not apply to this case, Defendants have shifted to arguing that these myriad, overbroad,
                                          28 and disproportionate requests are now relevant to their counterclaims.

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                                           1 proving the actual existence of subject matter jurisdiction.”). When Yuga Labs
                                           2 presents affidavits or other evidence disputing the truth of the allegations, as it has
                                           3 here, the court may review evidence beyond the complaint and Ripps and Cahen must
                                           4 “present affidavits or other evidence necessary to satisfy [their] burden of establishing
                                           5 subject matter jurisdiction.” St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.
                                           6 1989).
                                           7           At the threshold, Defendants have no Article III standing to bring claims under
                                           8 Section 512 (the Digital Millennium Copyright Act, or “DCMA”) for takedowns that
                                           9 occurred because of trademark concerns. There is no Section 512(f) claim for
                                          10 takedowns made to address trademark infringement, and it therefore follows that
                                          11 Defendants could not suffer any cognizable injury for Yuga Labs’ takedown requests
                                          12 that were made (successfully) on the basis of trademark infringement (or other non-
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                                          13 copyright bases). “By its express terms, the DMCA applies only to copyrights, not
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                                          14 patents, trademarks, or other rights . . . .” ISE Ent. Corp. v. Longarzo, No. CV 17-
                                          15 9132, 2018 WL 11346736, at *8 (C.D. Cal. Dec. 11, 2018); see also Twelve Inches
                                          16 Around Corp. v. Cisco Sys., Inc., No. 08 Civ. 6896 , 2009 WL 928077, at *4 (S.D.N.Y.
                                          17 Mar. 12, 2009) (“Reading Section 512(f) to cover misrepresentation of trademark
                                          18 infringement would be inconsistent with this carefully balanced intent. Accordingly,
                                          19 Plaintiff’s claim that misrepresentation of trademark infringement is actionable under
                                          20 17 U.S.C. § 512(f) is dismissed.”). All but one of Yuga Labs’ takedowns of the
                                          21 RR/BAYC NFTs were made (and made successfully) on the basis of trademark
                                          22 infringement or non-IP issues (e.g., phishing and other abusive uses of domain names),
                                          23 and Ripps has admitted as much. See Ball Decl. ¶¶ 4, 11, Exs. 2 and 9.
                                          24           Therefore, Defendants’ Section 512 counterclaim rests solely on one DMCA
                                          25 takedown. Countercl. ¶ 62 (identifying only one DMCA takedown, despite stating
                                          26 there were “numerous” fraudulent notices). To have standing with respect to this one
                                          27 DMCA takedown, Article III requires that Ripps and Cahen allege they suffered a
                                          28 concrete and particularized injury in fact from it. Lujan v. Defenders of Wildlife, 504

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                                           1 U.S. 555, 561 (1992).              This injury must be “‘actual . . . not conjectural or
                                           2 hypothetical.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (quoting Lujan, 504
                                           3 U.S. at 560). Bare procedural violations, without evidence of concrete harm, do not
                                           4 satisfy the injury-in-fact requirement of Article III. Id. But, Ripps and Cahen do
                                                                                                                            22


                                           5 not plead any actual injury from the takedown because it lasted no more than a few
                                           6 hours; the collection was reinstated the same day through no effort by either Ripps or
                                           7 Cahen. See also Ball Decl. ¶ 4. Ex. 2. Neither they nor anyone acting on their behalf
                                           8 even responded to the takedown. Id.; Countercl. ¶ 62. Any injuries that they might
                                           9 try to claim (which they have not identified) are at most de minimis, merely procedural
                                          10 in nature, and insufficient to meet Article III’s injury-in-fact requirement. See Skaff v.
                                          11 Meridien N. Am. Beverly Hills, LLC, 506 F.3d 832, 840 (9th Cir. 2007) (finding no
                                          12 cognizable injury where a defendant’s mistake is immediately corrected; “[t]he mere
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                                          13 delay during the correction of the problem . . . is too trifling of an injury to support
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                                          14 constitutional standing.”).
                                          15           Far from being injured by the takedown, Defendants used it to market their
                                          16 counterfeit NFTs and further engage with their followers. See Ball Decl. ¶ 8, Ex. 6.
                                                                                                      23


                                          17 For example, in reference to this single DMCA takedown request, Ripps publicly
                                          18 tweeted that it was the “best thing that could have happened” (emphasis added) and
                                          19 that the reinstatement of his collection was “historic.” Id. Defendants repeatedly
                                          20 crowed that it was good marketing for them when the RR/BAYC NFT collection was
                                          21
                                          22
                                               22
                                                  For the one DMCA takedown, Cahen has no standing because that takedown was
                                               of Ryder Ripps’ “Bored Ape Yacht Club” collection on Foundation. See Countercl. ¶
                                          23   62; Ball Decl. ¶ 4, Ex. 2.; Ball Decl. ¶ 7, Ex. 5. Cahen is not the owner of that
                                          24   collection on Foundation. See Ball Decl. ¶ 7, Ex. 5.
                                               23
                                                  Before this takedown ever happened, Ripps wrote that he “would like to get a
                                          25
                                               DMCA” on an RR/BAYC NFT. See Ball Decl. ¶ 3, Ex. 1. Receiving what you seek
                                          26   is not an injury. See Gordon v. Virtumundo, No. 06-0204, 2007 WL 1459395, at *9
                                               (W.D. Wash. May 15, 2007) (finding that plaintiffs lacked statutory standing, in part
                                          27
                                               because plaintiffs’ business benefitted from defendant’s conduct “by way of their
                                          28   research endeavors and prolific litigation and settlements.”).

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                                           1 taken down for other reasons. See id. ¶ 9, Ex. 7; id. ¶ 10, Ex. 8. Ripps claimed that
                                           2 the takedowns were “funny [to] exploit for marketing.” Id. ¶ 9, Ex. 7. Cahen also
                                           3 referred to the takedowns as “free marketing.” Id. ¶ 10, Ex. 8. Rather than suffering
                                           4 an injury from the one DMCA takedown, Defendants gloat about being benefited by
                                           5 it and all takedowns by Yuga Labs.
                                           6           D.      Count 1 Should be Dismissed for Failure to Plausibly Plead Any
                                           7                   Violation of Section 512(f).
                                           8           “[T]o state a § 512(f) claim, Defendant must allege (1) a material
                                           9 misrepresentation in a takedown notice that led to a takedown, and (2) that the
                                          10 takedown notice was submitted in subjective bad faith.” Moonbug Enter. Limited v.
                                          11 Babybus (Fujian) Network Technology Co. Ltd., No. 21-CV-06536, 2022 WL 580788,
                                          12 at *7 (N.D. Cal. Feb. 25, 2022). “A copyright owner cannot be liable simply because
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                                          13 an unknowing mistake is made, even if the copyright owner acted unreasonably in
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                                          14 making the mistake. See § 512(f). Rather, there must be a demonstration of some
                                          15 actual knowledge of misrepresentation on the part of the copyright owner.” Rossi v.
                                          16 Motion Picture Ass’n of Am. Inc., 391 F.3d 1000, 1005 (9th Cir. 2004). Defendants
                                          17 fail to plausibly allege either of those elements.
                                          18           The Court can take judicial notice of Yuga Labs’ one DMCA takedown notice,
                                          19 which is incorporated by reference into Defendants’ counterclaim. Moonbug, 2022
                                          20 WL 580788, at *8; Countercl. ¶ 62; see also Request for Judicial Notice filed
                                          21 concurrently herewith. To the extent Defendants contend that “Yuga filed numerous
                                          22 DMCA takedown notices,” their allegations fail to satisfy Rule 8(a) to put Yuga Labs
                                          23 on notice of what it must defend. Defendants also fail to satisfy Rule 9(b), as they
                                          24 have alleged that the takedowns were “fraudulent” but do not plead this allegation
                                          25 with the specificity required for fraud claims. Countercl. ¶ 62; see Kearns v. Ford
                                          26 Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2008) (“Averments of fraud must be
                                          27 accompanied by “the who, what, when, where, and how” of the misconduct charged.”
                                          28 (quoting Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir.2003))).

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                                           1           As to the one DMCA takedown they do allege, Defendants state that “Yuga
                                           2 Labs fraudulently alleged in these notices that RR/BAYC NFTs are copies of Yuga’s
                                           3 BAYC NFTs and therefore infringe Yuga’s copyrights in BAYC NFTs.” Countercl.
                                           4 ¶ 62. But the notice said no such thing. See Ball Decl. ¶ 4, Ex. 2. Rather, Yuga Labs
                                           5 wrote        that    “[t]he    infringing       content   uses   copyrighted    material     from
                                           6 https://opensea.io/collection/boredapeyachtclub produced by Yuga Labs without
                                           7 authorization.” (emphasis added).
                                                            24


                                           8           That statement in the notice was unquestionably true (despite Defendants’
                                           9 attempted discrepant interpretation) because Ripps’ Foundation page for his
                                          10 counterfeit NFTs included content displaying Yuga Labs’ exact logo without any
                                          11 modification as well as the Ape images associated with the genuine BAYC NFTs.
                                          12 See Ball Decl. ¶ 5, Ex. 3; Ball Decl. ¶ 6, Ex. 4. Therefore, Defendants cannot plausibly
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                                          13 allege that Yuga Labs made a material misrepresentation in a copyright takedown.
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                                          14           Moreover, Defendants’ only allegation about Yuga Labs’ purported knowledge
                                          15 is threadbare. Defendants do not (and cannot) allege that Yuga Labs had actual
                                          16 knowledge that it did not possess a copyright interest in its Bored Ape Yacht Club
                                          17 Logo. See generally Countercl. Because Defendants fail to address Ripps’ improper
                                          18 use of a copy of Yuga Labs’ Bored Ape Yacht Club logo on his Foundation page (Ball
                                          19 Decl. ¶ 5, Ex. 3; Ball Decl. ¶ 6, Ex. 4.), they fail to allege the essential element of
                                          20 Yuga Labs’ knowledge that it had no copyright interest. They also cannot allege that
                                          21 Yuga Labs had a subjective bad faith in its belief that it owned a copyright interest in
                                          22 its Bored Ape Yacht Club logo, which Ripps had copied without any modification.
                                          23 Indeed, Yuga Labs had a good-faith belief that Ripps’ use of Yuga Labs’ Bored Ape
                                          24 Yacht Club logo was not a fair use—in the trademark context this Court has already
                                          25 confirmed Ripps’ use was not a fair use. ECF 62 at 11.
                                          26
                                               24
                                                  The “infringing content” was defined in the takedown request as
                                          27
                                             https://foundation.app/ collection/bayc?tab=artworks. Ball Decl. ¶ 4, Ex. 2; see also
                                          28 id. ¶ 5, Ex. 3.

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                                           1           Thus, putting aside Defendants’ allegations regarding Yuga Labs’ copyright
                                           2 interest in the Ape images, Defendants’ failure to address their use of Yuga Labs’
                                           3 unmodified logo devastates any plausibility to their claim that the sole DMCA notice
                                           4 did not concern any copyrighted material from Yuga Labs.
                                           5           E.      Counts 2 and 3 Should Be Dismissed for Lack of Subject Matter
                                           6                   Jurisdiction Because Yuga Labs Does Not Have Copyright
                                           7                   Registrations.
                                           8           Counts 2 and 3 ask the Court to declare that Yuga Labs does not possess a
                                           9 copyright in the Bored Ape images. A copyright exists at the moment copyrightable
                                          10 material is fixed in any tangible medium of expression. Fourth Estate Public Benefit
                                          11 Corp. v. Wall-Street.com LLC, 139 S.Ct. 881, 887 (2019). Registration of a copyright
                                          12 is not required to own one; it is required to file suit on one. Id. The Court should not
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                                          13 wade into whether Yuga Labs has a copyright in its Bored Ape images, because such
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                                          14 an opinion would be merely advisory; Yuga Labs does not have a registered
                                          15 copyright, and there is therefore no imminent threat of a lawsuit for copyright
                                                       25


                                          16 infringement.
                                                           26


                                          17           “The purpose of the Declaratory Judgment Act is ‘to relieve potential
                                          18 defendants from the Damoclean threat of impending litigation over which a harassing
                                          19 adversary might brandish, while initiating suit at his leisure – or never.” Hal Roach
                                          20 Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555 (9th Cir. 1990) (citing
                                          21 Societe de Conditionnement en Aluminium v. Hunter Eng’g Co., 655 F.2d 938, 943
                                          22 (9th Cir. 1981)). “[T]he party seeking relief must still satisfy the ‘case or controversy’
                                          23 requirement,” which requires the party to show that “the controversy is of sufficient
                                          24 immediacy and reality to warrant declaratory relief.” Id.
                                          25
                                          26   Ball Decl. ¶ 23.
                                               25

                                               Because Defendants do not allege that Yuga Labs has registered a copyright on
                                               26
                                          27
                                             which it has threatened suit, Defendants also fail to plead Counts 2 and 3 under Rule
                                          28 12(b)(6).

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                                           1           But Yuga Labs does not possess a copyright registration for the Bored Ape
                                           2 images. See Ball Decl. ¶ 23. Defendants have publicly admitted this. Id. ¶ 12, Ex.
                                           3 10. Therefore, there can be no case or controversy between Ripps and Cahen, on the
                                           4 one hand, and Yuga Labs, on the other hand, because Yuga Labs itself “cannot sue for
                                           5 infringement of a copyright” that it has not registered. Cal. Furniture Collection, Inc.
                                           6 v. Harris Adamson Home, LLC, No. CV 19-06254, 2019 WL 7882081, at *2 (C.D.
                                           7 Cal. Oct. 18, 2019) (holding that the plaintiff did not have standing to seek declaratory
                                           8 relief of non-infringement because the defendant had neither applied for nor been
                                           9 granted copyright registrations); see also Sky Billiards, Inc., v. WolVol, Inc., No. 5:15–
                                          10 CV–02182, 2016 WL 7479428, at *4 (C.D. Cal. July 11, 2016) (granting defendant’s
                                          11 motion to dismiss as to plaintiff’s claim for declaratory judgment of non-infringement
                                          12 because the defendant had no registered copyright and “Plaintiff does not have
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                                          13 standing to seek declaratory judgment.”).
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                                          14           Moreover, Defendants know and publicly admit that Yuga Labs has never
                                          15 brought copyright claims against them.               See Ball Decl. ¶ 12, Ex. 10.      Rather,
                                          16 Defendants again want an advisory opinion from the Court about copyright and NFTs.
                                          17 But the standing requirement of Article III prevents exactly this use of federal courts
                                          18 to adjudicate hypothetical questions, just as it does in the defamation context. See
                                          19 Indus. Commc’ns Sys., Inc. v. Pacific Tel. & Tel. Co., 505 F.2d 152, 155 (9th Cir.
                                          20 1974) (“The United States Constitution limits the jurisdiction of the federal courts to
                                          21 the adjudication of ‘cases or controversies.’ [Citation omitted.] This limitation bars
                                          22 federal courts from giving advisory opinions or from considering hypothetical
                                          23 cases.”).
                                          24 III.      CONCLUSION
                                          25           Defendants have brought a series of legally deficient and retaliatory
                                          26 counterclaims purely to gain a tactical litigation advantage unrelated to the trademark
                                          27 dispute before the Court. This is wholly inappropriate, and for the foregoing reasons,
                                          28 Yuga Labs requests that the Court strike Defendants’ state-law counterclaims under

                                               YUGA LABS’ SPECIAL MTN TO STRIKE                                Case No. 2:22-cv-04355-JFW-JEM
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                                          1 California’s anti-SLAPP statute and award Yuga Labs its mandatory attorneys’ fees,
                                          2 or in the alternative dismiss them, as well as dismiss the federal-law counterclaims.
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                                          4 Dated: January 16, 2023                          FENWICK & WEST LLP
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                                                                                             By:     /s/ Eric Ball
                                          7                                                        Eric Ball
                                          8                                                  Attorneys for Plaintiff
                                                                                             YUGA LABS, INC.
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F ENWICK & W EST LLP




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                       ATTORNEYS AT LAW




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                                               YUGA LABS’ SPECIAL MTN TO STRIKE                                      Case No. 2:22-cv-04355-JFW-JEM
                                               COUNTERCLAIMS; MTN TO DISMISS COUNTERCLAIMS     25
